Case 3:19-cv-00160-SDD-RLB Document1-1 03/18/19 Page 1 of 8

(A

CSC

 

Primary Contact:

. LDD/ ALL
= = mo, Transmittal Number: 19436268
Notice of Service of Process Date Processed: 03/01/2019
Eric Manne .
AIG Property Casualty
80 Pine St
FI 13

. New York, NY 10005-1734

 

The Insurance Company of the State of Pennsylvania

Entity:
; Entity ID Number 0267190

Entity Served: Insurance Company of the State of Pennsylvania

Title of Action: Scott Guidry vs. The Insurance Company of the State of Pennsylvania

Document(s) Type: Citation/Petition ‘

Nature of Action: . Contract

Court/Agency: East Baton Rouge Parish District Court, LA

Case/Reference No: C-679732 ~ .

Jurisdiction Served: Louisiana

Date Served on CSC: 02/28/2019

Answer or Appearance Due: 45 Days

Originally Served On: Secretary Of State

How Served: Certified Mall

Sender Information:

Megan W Kelley
985-467-9525

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The reciplent is responsible for interpreting the documents and taking appropriate action. __

To avoid potential delay, please do not send your response to CSC

251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com

 

 
Case 3:19-cv-00160-SDD-RLB: Document 1-1

State of Louisiana
Secretary of State

02/27/2019

5 INSURANCE COMPANY OF THE STATE OF PENNSYLVANIA

i) C/O CORPORATION SERVICE COMPANY

* 601 LOUISIANA AVENUE

" BATON ROUGE, LA 70802-5921

Suit No.: 679732

49TH JUDICIAL DISTRICT COURT
EAST BATON ROUGE PARISH

SCOTT GUIDRY
vs '

THE INSURANCE COMPANY OF THE STATE OF PENNSYLVANIA, ET AL

Dear Sir/Madam:

| am enclosing a citation served In regard to the above entitled proceeding. If you are not the intended recipient of
this document, please return it to the above address with a letter of explanation. All other questions regarding this

document should be addressed to the attorney that flled this proceeding.

Served on: R. KYLE ARDOIN
Served by: L. KUING

03/18/19 Page 2 of 8

Legal Services Section
P.O, Box 94125, Baton Rouge, LA 70804-9125
(226) 922-0415

Yours very truly,

R. KYLE ARDOIN
Secretary of State

Date: 02/26/2019
Title: DEPUTY SHERIFF

No: 1109708 .

 

 

 

 

|

 

 

 

 

 

 

 

 

 

 

 
Case 3:19-cv-00160-SDD-RLB Document1-1 03/18/19 Page 3 of 8

SERVICE COPY 7 |

an ATMO UA

D1430289
CITATION
SCOTT GUIDRY NUMBER C-679732 SEC. 24
Plalntifo
vs 19° JUDICIAL DISTRICT COURT
PARISH OF EAST BATON ROUGE
THE INSURANCE COMPANY OF THE
STATE OF PENNSYLVANIA, ET AL STATE OF LOUISIANA
(@efendant) ,
SERVED ODIN

TO: THE INSURANCE COMPANY OF THE STATE OF PENNSYLVANIA ®-KYLE
THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS: erp 6 2019

LOUISIANA SECRETARY OF STATE F STATE
, ECRETARY O}
, GREETINGS: GOMMERGIAL DIVISION
Attached to this citation is a certified copy of the petition*, The petition tells you what you are being
sued for.

You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at

300 North Boulevard, Baton Rouge, Louisiana, If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
notice,

This citation was issued by the Clerk of Court for East Baton Rouge Parish on FEBRUARY 19,

2019, a
slltiiay,
suet My,

   

  

Deputy Clerk of Court for
Doug Welborn, Clerk of Court —

Requesting Attorney: KELLEY, MEGAN W ©
(985) 467-9525

*The following documents are attached:

PETITION, INTERROGATORIES
SERVICE INFORMATION:

20 and on the day of 20 , Served ont the abovo nanied party as

day of

 

Recelved on the.

 

 

follows:
PERSONAL SERVICE: On the party herein named at

DOMICILIARY SERVICE: On the within named : , by leaving tho same at his domicile in this parish In the hands of
, a person of sultable age and discretion residing in the said domicile at . _

SECRETARY OF STATE; By tendering same fo the within named, by handing same to

DUE AND DILIGENT: After diligent search and inquiry, was unable to find the within named or his domicile, or anyone

legally authorized to tepresent him.

day of 520

RETURNED: Parish of Hast Baton Rouge, this

 

SERVICE:$ f
4 MILEAQES Deputy Sheriff i.
t TOTAL: $ Parish of Bast Baton Rouge
' CITATION-2000

 

 
Case 3:19-cv-00160-SDD-RLB Documenti1-1 03/18/19 Page 4 of 8

[AST BATON ROUGE FARISH C-679732 '
Filed Feb 15, 2019 10:49 AM 24
Dep uty Clerk of Court \

& x

19th JUDICIAL DISTRICT COURT FOR THE P. SH OF EAST BATON ROUGE

STATE OF LOUISIANA

DOCKET NOw DIVISION:

SCOTT GUIDRY
VERSUS

THE INSURANCE COMPANY OF THI STATE OF PENNSYLVANIA, K & Z
ENTERPRISES, INC., AND EDDIE LOVE, JR.

 

FILED: : DEPUTY CLERK,

 

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes Plaintiff, Scott Guidry, a
person of the full age of majority, domiciled In the Pariah of Tangipahoa, State of Louisiana, who

respectfully avers that he is entitled to all damages as are reasonable and Who represents the

following with respect;

Made Defendants herein are:

: THE INSURANCE COMPANY OF THE STATE OF
PENNSYLVANIA, (“ Pennsylvania Insurance Company”) upon
information and belief, a foreign insurer authorized to do and doing
business in the State of Louisiana, atid the liability insurance carrier of K
& Z Enterprises, Ino., doing business as Smith's Trucking, and its course
and scope employee Eddia Lovo, Jr., whose registered agent for service of
process is the Louisiana Secretary of State, located at 8585 Archives Ave.,
Baton Rouge, LA 70809;

- K&Z ENTERPRISES, INC,, DBA SMITH’S TRUCKING (“Smith’s
Trucking”) upon. information and belief, a foreign corporation, domiciled
in ‘the State of Alabama, and the course and scope employer of Eddie
Love, Jr, whose registered agent for service of process is Christopher
Smith, 75 Pipes Avenue, Clanton, AL 35045; and .

* EDDIE LOVE, JR., upon information and belief, an individual of the full
age of majority, and the course and scope employee of Smith’s Trucking,
domiciled in the County of Autauga, State of Alabama, at 3304 W,
Highway 82, Billingsley, AL 36003.
These Defendants are justly and truly indebted to Plaintiffs in an amount sufficient to satisfy the
Jurisdictional requirements of this Court (more than $50,000.00), together with interest thereon

from date of judicial demand ‘until paid, for all costs of these proceedings, and for all other ©

  
 

Petition for Dainages Page 1 of 5
. \ '
fpr b-
d True and oe Gonerated Data:
Certifle me East Baton Rouge Parish Pr omoi0 4 120 mM

Correct Copy

fscartiD: 2019021800504 Deputy Clerk of Court

Alteralian and subsequent re-fillng of thls corliied copy may Votate La. RS. 14:192, 133, and/or RPC Rute 3.3(a)f4).

 

 
Case 3:19-cv-00160-SDD-RLB Document1-1 03/18/19 Page 5 of 8

i
t
:
i
& - \

reasonable general and equitable relief allowable under the law for reasons that follow.

2. ,
On or about Match 23, 2018, at approximately 9:27 p.m., in the Parish of Tangipahoa,
City of Hammond, State of Louisiana, Plaintiff Scott Guidry was travelling Westbound on West
Club Deluxe Road,near the intersectlon of Professional Plaza Drive, in a 2015 Ford F-150 that he
owned,
4,-
Plaintiff and the vehicle he occupied were covered by liability automobile insurance in
compliance with Louisiana Law at all times relevant to these proceedings.
: ke
At the same time, Defendant Eddie Love, Jr., was attempting to exit Professional Plaza
Drive to travel onto West Club Deluxe Road, in a 2005 International Harvester 9900 Commercial

Truck that he owned.
5.

At the aforementioned time and place, suddenly and without warning or justification,
Dofendant Eddie Love, Jr, failed to yield and made an improper left tum from Profesalonal Plaza
Drive onto West Club Deluxe Road, into Plaintiff's lane of travel, causing a collision with the
front end of Plaintiff's vehicle,

‘ 6.

At all times relevant to these proceedings, Plaintif®’Scott Guidry, exerolsed all due care,

caution, and safety, and he obeyed all traffic laws and safety regulations.

1

Conversely, Defendant Eddie Love, Jr., operated his commercial truck in a careless,
reckless, and/or negliganit manner, jn violation of traffic Jaws nnd motor vehicle safety standarda,
8. .

Dofendant Eddie Love Jr.’s cavelesa, reckless, and/or negligent acts and/or omissions

caused the collision and damages described herein.

  
  

Petition for Damages Page a af'5
(
Certified True and ——abaion Rouge Path Ganarated Date:
(al
Fete aoe oso Daputy Clark af Court 2119/2010 14:32 AM
PC Fula 3.348)(3).

Aiteralion and subsequent Co-fiting of thfa cetified copy may violate Le. R.8. 445192, 133, and/or RI

 

 
Case 3:19-cv-00160-SDD-RLB Document1-1 03/18/19 Page 6 of 8

Defondant Eddie Love, Jr., was acting in the course and scope of his employment asa

curler for Defendant Sinith’s Trucking,
10.

Defendant Pennsylvania Insurance Company issued to Defendant Smith’s Trucking a
policy of automobile liability insurance, policy number 009882963, applicable to Defendant
Eddie Love, Jr., and the vehicle he was operating, Said policy included coverage ‘for Plaintiff’s
damages herein. Accordingly, Defendants Pennsylvania Insurance Company, Smith's Trucking,
and Eddie Love, Jr., are liable jp _solido to Plaintiff.

| I.
As a result of the aforementioned collision, which was caused entirely by Defendant
Rddie Love, Jr.’s carelessness, vecklessness and/or negligence, Plaintiff sustained severe personal
injuries his head, neok, back, and other anatomy, which caused Plaintif? physical and mental
pain, suffering, and disability, inter alia.
: 12,
The collision, and damages to Plaintiff were caused by the carelessness, recklessness,
and/or negligence of Defendant Hddie Love, Jr., in the following non-exclusive particulars:
. a) Reckless and/or careless driving;

b) = Operating his motor vehiole in an unsafe manner;

¢) Failing to see what he should have seen;

d) Falling to maintain a proper lookout;

e) Failing to take proper safety precautions under the circumstances;

f) =‘ Failing to maintain control; .

g) Failing to yield;

h) Failing to stop;

i) Improper.left turn;
j)' Failing to comply with prevailing motor vehicle safety standards; and
I) Any and all other acts of negligence or other fault to be proven at trial,

13.

Accordingly, Defendants ure yesporisible Jointly and severally, in solido, to Plaintiff for

  
 

Petition for Damages Page 3 of 5
Certiflad True and . ” @anerated Date:
. Faal Baton Rouge Parish
A oO NGOs . ‘Doputy Clark of Court anier2018 14:32 AM
33, and/or RPG Rute 3.3(a)@).

Alteration and subsequent re-fiing of tive catijed copy may Violate La, R.S, 14:132, f

 

 
Case 3:19-cv-00160-SDD-RLB Document1-1 03/18/19 Page 7 of 8

&

damages in the following non-exclusive particulars:
a)
b)

9)
a
e)
h

|
|

Medical and related expenses (past and future)

Mental and physical pain and suffering (past and future);

Loss of enjoyment of life (past and future);

Loss of wages (past and future)

Out of pocket expenses (past and future); and

Any other itents to be proven at trial.

14,

Pursuant to Louisiana Code of Civil Procedure Article 42, et seq., venue is propor

because The Insurance Company of the State of Pennsylvania is a foreign insurer.

WHEREFORE, Plaintiff Scott Guidry, prays that the Defendants herein, The Insurance

Company for the State of Pennsylvania, K & Z Enterprises, Inc., and Eddie Love, Jx., be served

and duly cited to appear and answer this Petition all ag provided by law; and that after all legal

delays and due proceedings are had, that there be a judgment rendered herein in favor of the

Plaintiffs and against the Defendants, jointly and severally, in_solida, for any and all damages

described herein and/or proved at trial of this matter, together with legal interest thereon from the

date of judicial demand until paid for all coats of these proceedings, and for all other general and

equitable relief which may be appropriate under the circumstatices,

Respectfully submitted:

PB.

J. Parke

dn K el

 

LAYRISSON LAW FIRM /
Layrisson (Bar #28128)

Meghan B, Notarlano (Bar #37248)
Megan Kelley (Bar #37189)

BO. Box 1860

200 H. Hickory St.

Pouchatoula, LA 70454

Ti 985-467-9525

FB: 985-247-8214

E: file@tayrisson.com

Petlion for Damages

   
 

Certified True and
Correct Copy
entlD: 2019021900504

Alleration and aubsaquent re-fiing of thia cartiiad copy may viol

‘Page 4 of $
1
Genaratad Date:
Eant Baton Rauge Parlsh 2no2019 112 AM

Daputy Clark of Court

ate La. RS, 14:92, 129, and/or RAG Rute 3.3(4)(3).

 

 
Case 3:19-cv-00160-SDD-RLB  Document1-1 03/18/19 Page 8 of 8

Mase Sars

THE INSURANCE COMPANY FOR THE STATE OF LOUISIANA
Through tts Registered Agent for Service of Process

Louisiana Secretary of State

8585 Archives Ave. \

Baton Rouge, LA 70809 : ,

Please Serve through Louisiana Long Arm Statute:

K & Z ENTERPRISES, INC, .

Through Its Registered Agent for Service of. Process
Christopher Smith

75 Pipes Avenue

Clanton, AL 35045

EDDIE LOVE JR.
3304 W, Highway 42
Billingsley, AL 36003

Patition for Damages Page § af $

for ky

East Baton Rouge Pasieh
Qopuly Clerk of Gourt 2/19/2019 11:32 AM

  

Certified True and.
ox] Correct Copy
ACart!D: 2019021000504

Alteration and eubsaqient re-fllng of this cartinied copy may Molate La, R.8, 14:32, 133, and/or RPC Rute 9.3(a}{3).

 

 
